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              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE THIRD CIRCUIT


                                No. 22-1587


 COMMONWEALTH OF PENNSYLVANIA, PENNSYLVANIA GAME
                  COMMISSION,
                                           Appellants

                                       v.

                 THOMAS E. PROCTOR HEIRS TRUST


                        JOINT APPENDIX VOL. IV


           APPEAL FROM THE JUDGMENT OF THE UNITED STATES
       DISTRICT COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                       ENTERED DECEMBER 3, 2021




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DATE: June 7, 2022                     Appellate Litigation Section
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      Due to the large file size of the photographs of these tax books, these
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                         CERTIFICATE OF SERVICE

      I, Michael J. Scarinci, Deputy Attorney General, do hereby certify that I

have this day served the foregoing Joint Appendix – Volume IV of V, via

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Four copies were also sent by first class mail to the Clerk of the United States

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DATE: June 7, 2022
